 Case 1:17-cv-00443-CBA-JO Document 48 Filed 07/28/17 Page 1 of 1 PageID #: 263



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                                                                         U.S.           CO<J8T 6.D.N.Y.
UNITED STATE DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                             ★ JUL 2 8 2fll7 *
                                                         ■X
ALLSTATE INSURANCE COMPANY, ALLSTATE
                                                                         BROOKLYN OFFICE
INDEMNITY COMPANY, ALLSTATE PROPERTY &
CASUALTY INSURANCE COMPANY,and ALLSTATE                        Docket No.: 1:17-cv-00443(CBA)(JO)
FIRE & CASUALTY INSURANCE COMPANY,

                           Plaintiffs,

       -against-

ELITE MEDICAL SUPPLY OF NEW YORK,LLC,
GARYNIKIEL, WALTER MENDOZA, D.C.,
TODD GOLDMAN,D.C., OLEG BARSHAY, D.C.,
GEOFFREY GEROW,D.C., JULIUS HORVATH,D.C.,
BETH COHEN,D.C., WALTER E. MENDOZA
CHIROPRACTOR, P.C., DR. TODD GOLDMAN,
CHIROPRACTOR, P.C., OCEAN ONE PHYSICAL
THERAPY P.C., GEOFFREY GEROW, D.C., P.C.,
JULIUS P. HORVATH D.C., P.C., and DR.
BETH J.COHEN, D.C., P.C.,

                           Defendants.
                                                         -X


                        NOTICE OF DISMISSAL WITH PREJUDICE


      PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41(a)(I)(i), Plaintiffs, ALLSTATE
INSURANCE COMPANY, ALLSTATE              INDEMNITY COMPANY, ALLSTATE PROPERTY &
CASUALTY INSURANCE COMPANY and ALLSTATE FIRE AND CASUALTY INSURANCE

COMPANY, hereby dismiss with prejudice all claims that they asserted against Defendants, BETH
COHEN, D.C. and BETH J. COHEN, D.C., P.C. in this action.

Dated: July 6, 2017
      New York, New York

                                               ABRAMS COHEN & ASSOCIATES


                                              /s/ Barry S. Cohen
                                               Barry S. Cohen(EC 9825)
                                               5 Hanover Square, Suite 1601
                                               New York, New York 10004
                                              (646)449-7490
                                               Counselfor Plaintiffs




                                                               s/Carol BagleyAmon
